         Case 1:19-cv-01094-ER Document 129 Filed 01/12/21 Page 1 of 12




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------x
                                                          :
DAVID JOHANSEN, et al.,                                   :
                                                          :
                           Plaintiffs,                    :
                                                            Case No. 19-cv-01094 (ER)
                                                          :
         -against-                                        :
                                                          :
SONY MUSIC ENTERTAINMENT,
                                                          :
                           Defendant.                     :
                                                          :
----------------------------------------------------------x


                         STIPULATION AND PROTECTIVE ORDER

       This Stipulation is made and entered into by and between Plaintiffs David Johansen, John

Lyon, Paul Collins, Michael Gregory, and David Swanson (collectively “Plaintiffs”), on the one

hand, and Defendant Sony Music Entertainment (“Defendant”), on the other hand, by and

through their respective counsel, with reference to the following:

       WHEREAS, Plaintiffs and Defendant (the “parties”) anticipate that discovery in the

above-entitled action may involve production or disclosure of documents or information that one

or both parties contend contain confidential, private, or proprietary business or personal

information;

       WHEREAS, the parties desire to keep confidential the aforementioned documents,

information, or other materials, and at the same time, allow for appropriate discovery under the

Federal Rules of Civil Procedure to take place in this action;

       NOW, THEREFORE, the parties hereby stipulate, by and through their respective

counsel of record, subject to the approval of the Court, to the following:

       1.      This Stipulation and Protective Order is being entered into to facilitate the

production, exchange, and discovery of Discovery Materials (defined below). It is the intent of


                                                   1
         Case 1:19-cv-01094-ER Document 129 Filed 01/12/21 Page 2 of 12




the parties that information will not be designated as confidential for tactical reasons and that

nothing be so designated without a good faith belief that it has been maintained in a confidential,

non-public manner, and there is good cause why it should not be part of the public record of this

case. Nothing in this Stipulation and Protective Order shall be interpreted or construed as

restricting a party’s right to seek penalties or sanctions in accordance with applicable law, rules,

or orders of the Court.

       2.      Nothing in this Stipulation and Protective Order shall be interpreted or construed

as changing any burden of proof or persuasion with respect to any confidentiality designation or

burden with respect to any sealing request.

       3.      “Discovery Materials” shall be defined as all documents, materials, and

information exchanged by the parties or any non-parties in connection with the above-captioned

action, including, but not limited to, any written response to interrogatories, requests for

admission, requests for production of documents, subpoenas, deposition transcripts, and all

information contained in those materials. Any materials that are part of the public record are not

covered by this Stipulation and Protective Order.

       4.      “Protected Material” shall be defined as all documents, testimony, or other

Discovery Materials which any party or non-party has designated as “Confidential.”

       5.      Any party or non-party may designate as “Confidential” any Discovery Materials

or portion of Discovery Materials that contains:

               a.         financial information previously nondisclosed to the public (including
                          without limitation profitability reports or estimates, percentage fees,
                          design fees, royalty rates, minimum guarantee payments, sales reports and
                          sale margins);

               b.         material previously nondisclosed to the public relating to ownership or
                          control of any non-public company;




                                                   2
        Case 1:19-cv-01094-ER Document 129 Filed 01/12/21 Page 3 of 12




              c.      business plans, trade secrets, product development information,
                      competitively sensitive technical information, confidential marketing
                      plans, or other confidential business information previously nondisclosed
                      to the public;

              d.      any information of a personal or intimate nature regarding any individual;
                      and

              e.      any other category of information given confidential status by the Court.

       6.     Any Discovery Materials or portion of Discovery Materials designated as

“Confidential” may be disclosed, given, made available, or communicated only to the following

persons and entities (“Authorized Persons”):

       (a)    the Parties, including their employees and in-house counsel;

       (b)    outside counsel retained specifically for this action, including any paralegal,

              clerical and other assistant employed by such counsel and assigned to this matter

              and independent contractors providing copying services or non-expert witness-

              type (testimonial or consultant) litigation support for the parties;

       (c)    the author, addressee, and any other person indicated on the face of a document as

              having received a copy of the document;

       (d)    outside vendors or service providers (such as copy-service providers and

              document-management consultants) that counsel hire and assign to this matter;

       (e)    mediators, referees, or other neutral designees of the Court or the parties for the

              purpose of dispute resolution;

       (f)    officers of the Court and supporting personnel and/or officers of any appellate

              court to which any appeal may be taken in this litigation or in which review is

              sought, including necessary stenographic and clerical personnel (e.g., court

              reporters);




                                                 3
         Case 1:19-cv-01094-ER Document 129 Filed 01/12/21 Page 4 of 12




       (g)     other qualified reporters taking and videographers recording testimony involving

               such information and necessary stenographic and clerical personnel thereof;

       (h)     any expert or consultant who is retained by any of the parties in this action or their

               counsel of record to assist counsel in this litigation, and any employee of such an

               expert or consultant who is assisting the expert or consultant in this litigation

               provided that they be provided a copy of this Stipulation and Protective Order;

       (i)     professional jury or trial consultants and mock jurors to whom disclosure is

               reasonably necessary for the prosecution or defense of this action and who have

               received a copy of this Stipulation and Protective Order;

       (j)     Any other witnesses or prospective witnesses in this litigation, if and to the extent

               his or her review of the Protected Material is reasonably necessary to assist in the

               prosecution, defense, or settlement of this litigation, provided that such person

               may not retain a copy of such information; and

       (k)     any person pursuant to judicial order or as otherwise required by law.

       7.      All Discovery Materials produced by any party or non-party in these proceedings,

whether or not designated as Protected Material, shall be used by the non-producing party solely

in connection with, and only as necessary for, the preparation and litigation of this action, and

not for any other purpose, including without limitation any other litigation or any business,

commercial, competitive, or other purpose or function, except as otherwise required by law or by

any tribunal, governmental agency, self-regulatory agency, court, administrative agency or

regulatory body. In the event any party receives an informal request or is served with a subpoena

issued by a court, administrative agency, self-regulatory organization, or regulatory body

regulator calling for the production of documents or discovery responses that have been




                                                 4
         Case 1:19-cv-01094-ER Document 129 Filed 01/12/21 Page 5 of 12




produced by another party or non-party in these proceedings, whether or not designated as

Protected Material, the non-producing party shall promptly give notice to the producing party

and shall allow the producing party sufficient time to seek protection from the appropriate court,

administrative agency, or other entity.

       8.      Any party or non-party may designate Discovery Material other than deposition

testimony and exhibits as “Confidential” by so stamping or otherwise clearly marking such

Discovery Material in a manner that will not interfere with its legibility or audibility.

       9.      A party may designate as Protected Material, the whole or a portion of any

deposition testimony, regardless by whom given, which contains or discloses Protected Material.

The party designating any portion of a deposition as Protected Material may do so on the record

at the deposition or shall serve a written statement on the parties and court reporter specifying the

portions of the deposition which are to be designated as Protected Material within thirty (30)

days after receipt of the final deposition transcript. The entire transcript shall be deemed

Protected Material prior to the expiration of the foregoing thirty-day period. Any portion not so

designated shall not be entitled to the protections given to Protected Material under this

Stipulation and Protective Order. If a document (or portion of a document) or written response

designated as Protected Material is used as an exhibit at a deposition or otherwise shown to a

witness at a deposition, that document (or portion of a document) or written response and the

deposition testimony concerning it shall be deemed Protected Material regardless of whether a

party makes any formal designation thereof.

       10.     The inadvertent failure to mark Discovery Materials as “Confidential” shall not

constitute a waiver of any claim of confidentiality which may attach to the document. If any

party or non-party inadvertently fails to designate any Discovery Material as Protected Material




                                                  5
         Case 1:19-cv-01094-ER Document 129 Filed 01/12/21 Page 6 of 12




at the time of production or service of the response, it may notice the receiving party in writing

of the claimed inadvertent failure and provide substitute copies of the Discovery Material at

issue. Within ten (10) days of receipt of the substitute copies, the receiving party shall return or

destroy the previously-unmarked items and all copies thereof.

       11.     To the extent any party or non-party produces Discovery Material that contains

personally identifiable information, financial information, and/or health information and is not

marked as “Confidential,” any party or non-party may designate the Discovery Material at issue

as Protected Material by notifying the parties in writing.

       12.     The receipt of any Discovery Material designated as Protected Material or the

receipt of a notice that Discovery Material was inadvertently produced without being marked as

Protected Material shall not be construed as an agreement by the receiving party that any such

Discovery Material is in fact Protected Material, and shall not operate as a waiver of the

receiving party’s right to challenge any such designation as provided herein. If, after a party

receives Discovery Materials designated as Protected Material (or a notice that Discovery

Material was inadvertently produced without being marked as Protected Material), it appears to

the receiving party that any such information is not entitled to the designated protection afforded

under this Stipulation and Protective Order, such receiving party shall notify counsel of record

for the designating party in writing. Any party who believes that the other party hereunder has

inappropriately designated materials as Protected Material shall make reasonable and diligent

efforts to meet and confer with the designating party in an effort to reach an informal resolution

to the dispute. If the parties are unable to resolve the objection informally, then the objecting

party may move to the Court presiding over this action for an order determining whether the

materials are properly designated as Protected Material. Until the Court rules to the contrary, all




                                                  6
         Case 1:19-cv-01094-ER Document 129 Filed 01/12/21 Page 7 of 12




materials designated Protected Material shall be treated as prescribed in this Stipulation and

Protective Order.

       13.     The attorneys of record and all other persons receiving Protected Material under

this Stipulation and Protective Order are responsible for employing reasonable measures,

consistent with this Stipulation and Protective Order, to control access to, and the duplication and

distribution of, Protected Material. In the event of a disclosure of Protected Material to a person

not authorized to have had such disclosure made to him or her under the provisions of this

Stipulation and Protective Order, and in the event the party responsible for having made or

allowed such disclosure becomes aware of such disclosure, that party shall immediately inform

counsel for the party whose Protected Material has thus been disclosed of all relevant

information concerning the nature and circumstances of such disclosure. The responsible party

shall also take all reasonable measures promptly to ensure that no further or greater unauthorized

disclosure of Protected Material is made by anyone.

       14.     Nothing in this Stipulation and Protective Order shall be deemed in any way to

restrict the use of documents or information that are lawfully obtained or publicly available to a

party independently from discovery in this action, whether or not the same material has been

obtained during the course of discovery in the action and whether or not such documents or

information have been designated as Protected Material.

       15.     A party shall have the right to have persons not designated Authorized Persons as

defined in this Stipulation and Protective Order excluded from a deposition before the taking of

testimony designated as Protected Material or the introduction of documents or exhibits

designated as Protected Material.




                                                 7
         Case 1:19-cv-01094-ER Document 129 Filed 01/12/21 Page 8 of 12




       16.     Nothing herein shall prevent any of the parties from using Protected Material in

any trial, hearing, or court conference in this litigation or from seeking further protection with

respect to the use of any Protected Material in any trial, hearing, or court conference in this

litigation. Means to preserve the confidentiality of Protected Material presented at trial, hearing,

or court conference shall be considered and implemented in advance of such trial, hearing or

court conference pursuant to the standards set forth by the Court. If Protected Material is used at

a hearing, court conference, or trial, all portions of the transcripts and exhibits thereof which

relate to Protected Material shall be designated and treated pursuant to the terms of this

Stipulation and Protective Order, unless the Court orders otherwise.

       17.     The production of Protected Material shall not constitute an admission or

concession by the producing or designating party that such Protected Material is relevant or

probative of any issue or is admissible at any proceedings for any purpose.

       18.     Nothing in this Stipulation and Protective Order shall limit or affect the right of a

party to disclose or to authorize disclosure of Protected Material produced by that party.

       19.     A party who seeks to file with the Court any Protected Material must file such

Protected Material under seal as authorized or permitted by the Court, in accordance with the

procedures described in the Court’s Individual Practices, and must remain under seal unless or

until the Court orders otherwise.

       20.     The production of privileged or work product protected documents, electronically

stored information (“ESI”), or other information, whether inadvertent or otherwise, is not a

waiver of the privilege or protection from discovery in this case or in any other proceeding. If a

producing party identifies inadvertently produced Discovery Material that it believes is

privileged, it shall notify the receiving party’s counsel in writing, and identify the Discovery




                                                  8
           Case 1:19-cv-01094-ER Document 129 Filed 01/12/21 Page 9 of 12




Material that it claims is privileged. Upon receipt of notification that privileged Discovery

Material was inadvertently produced, the receiving party shall immediately return the Discovery

Material claimed to be privileged, and any copies thereof, and confirm to the producing party in

writing that all electronic copies of the document have been deleted or otherwise destroyed. The

producing party shall update its privilege log to reflect the Discovery Material that it claims to

have inadvertently produced. This paragraph does not constitute a waiver of the receiving

party’s right to challenge the claim of privilege or of inadvertent production.

       21.     No later than sixty (60) days from the unappealed or unappealable final resolution

or settlement of this action, all Protected Material within the possession of counsel for a

receiving party, shall be delivered to counsel for the producing party; or in lieu thereof, the

receiving party shall certify in writing that all such Protected Material has been destroyed.

Notwithstanding the above, counsel of record may retain one set of (i) pleadings, exhibits, and

their own attorney and consultant work product for archival purposes, (including portions of any

such papers that contain or disclose Protected Material), and (ii) any agreement executed by any

plaintiff or member of the putative class represented by Plaintiffs’ counsel, and any amendments

thereto.

       22.     Nothing in this Stipulation and Protective Order shall be deemed to limit,

prejudice, or waive any right of the parties: (a) to resist discovery with respect to, or to seek to

obtain additional or different protection for, Discovery Materials claimed to be protected work

product or privileged under federal or state law, Discovery Materials as to which a party claims a

legal or contractual obligation not to disclose, or Discovery Materials not required to be provided

pursuant to federal or state law; (b) to seek to modify or obtain relief from any aspect of this

Stipulation and Protective Order; (c) to object to the use, relevance or admissibility at trial or




                                                  9
        Case 1:19-cv-01094-ER Document 129 Filed 01/12/21 Page 10 of 12




otherwise of any Discovery Materials, whether or not designated in whole or in part as Protected

Material governed by this Stipulation and Protective Order; or (d) otherwise to require that

discovery be conducted according to governing laws and rules.

       23.     Third parties who produce information or documents in connection with this

action may avail themselves of the protections of this Stipulation and Protective Order.

       24.     Additional entities and/or persons who become parties to this action may join this

Stipulation and Protective Order. The parties to this Stipulation and Protective Order may

require that additional entities and/or persons who become parties to this action join this

Stipulation and Protective Order as parties thereto before they may receive Discovery Material

and/or Protected Material, or before they may participate in proceedings in which Protected

Material will be shown, shared, or disclosed.

       25.     This Stipulation and Protective Order may be modified at any time for good cause

shown, and shall not preclude any application to the Court seeking greater or lesser protection for

specific Discovery Material or seeking termination of the protection provided hereunder for

specific Discovery Material.

       26.     This Stipulation and Protective Order shall survive the termination of this

litigation and will continue to be binding upon all persons to whom Protected Material is

produced or disclosed.

       27.     This Court will retain jurisdiction to the extent necessary to enforce any

obligations arising hereunder or to impose sanctions for any contempt thereof.

       28.     Nothing herein shall be construed to modify any previously existing

confidentiality obligations of the parties.




                                                 10
         Case 1:19-cv-01094-ER Document 129 Filed 01/12/21 Page 11 of 12




         29.    The parties agree to be bound by the terms of this Stipulation and Protective

Order pending the entry by the Court of this Stipulation and Protective Order, and any violation

of its terms shall be subject to the same sanctions and penalties as if this Stipulation and

Protective Order had been entered by the Court.

         30.    This Stipulation and Protective Order may be signed in counterparts, which, when

fully executed, shall constitute a single original, and electronic signatures shall be deemed

original signatures.

         By executing a copy of this Stipulation and Protective Order, each of the attorneys named

below and the parties they represent undertake to abide by and be bound by its provisions.



Dated:    January 11, 2021                     BLANK ROME LLP

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                                                 11
         Case 1:19-cv-01094-ER Document 129 Filed 01/12/21 Page 12 of 12




Dated:   January 11, 2021            GIBSON, DUNN & CRUTCHER LLP

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IT IS SO ORDERED.

         January 12
 Dated: ___________________, 2021
                                       By: ____________________________________
                                            Hon. Edgardo Ramos
                                            United States District Judge




                                       12
